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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS
CENTRAL DIVISION

THE ESTATE OF JOHN FRANK GIBSON, JR.,
DECEASED, BY AND THROUGH ITS COURT
APPOINTED EXECUTRIX, JODY CUMMINS PLAINTIFF

VS. CASE NO. 4:23-cv-425-JM

JOHN FRANK GIBSON, III; AND
BLACKROCK LAND HOLDINGS LLC DEFENDANTS

FIRST AMENDED COMPLAINT

Plaintiff the Estate of John Frank Gibson, Jr., deceased, by and through
its court appointed executrix, Jody Cummins, by counsel Wright, Lindsey &
Jennings LLP and Barton & Roper, PLLC, for its first amended complaint
against defendants John Frank Gibson, III and Blackrock Land Holdings LLC,
states:

I. Parties, Jurisdiction, and Venue

1. Plaintiff the Estate of John Frank Gibson, Jr., deceased (“Estate”) is a
decedent’s estate pending in the Circuit Court of Drew County, Arkansas, Probate
Division, as cause number 22PR-20-118-2. John Frank Gibson, Jr. died on or
about November 22, 2020. The petition to admit will to probate and appoint
personal representative was filed on December 8, 2020.

2. Jody Cummins is an individual residing in Pulaski County, Arkansas.
She is an adult daughter of decedent John Frank Gibson, Jr. and a beneficiary of
his Estate. Pursuant to Court order dated September 6, 2022, Ms. Cummins is the

successor Exxecutrix of the Estate.

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3. Defendant John Frank Gibson, III (“Defendant”) is an individual
alleged to be residing in Bourbon County, Kansas. Defendant is an adult son of
John Frank Gibson, Jr. and a beneficiary of his Estate.

4. Defendant Blackrock Land Holdings LLC (“Defendant Blackrock”) is a
Wyoming limited lability company. Upon information and belief, Defendant
Blackrock is a citizen of Wyoming and/or Kansas for the purposes of federal
diversity jurisdiction.

5. This is an action for breach of contract on two promissory notes, and
for voidable conveyance. Defendant is indebted to the Estate on the two notes as
provided for herein. Further, based on information and belief, Defendant
committed a fraudulent conveyance to Defendant Blackrock of Defendant’s
interest in real property located in Drew County and Chicot County, Arkansas,
and more particularly described in the quitclaim deed attached hereto and
incorporated herein as Exhibit “1.” Such real property will be referred to herein
as the “Real Property.”

6. Based on his activities in the state of Arkansas, as complained of
herein, this Court has personal jurisdiction over Defendant. By virtue of
Defendant Blackrock’s recently acquired ownership of property in Drew County
and Chicot County, Arkansas, this Court has personal jurisdiction over
Defendant Blackrock.

7. This Court has diversity jurisdiction over the parties and subject
matter of this litigation pursuant to 28 U.S.C. § 1332. The amount in
controversy exceeds $75,000.

8. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b)(2) and

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1441 (a).

II. Facts Regarding the Notes

9. The Estate incorporates by reference the allegations contained in the
preceding paragraphs as if restated herein verbatim.

10. Atthe time of his death, John Frank Gibson, Jr. was the holder of two
promissory notes. That being indebted, Defendant was the maker and obligee of
each of those two notes. To evidence a loan he had received, Defendant did make,
execute, and deliver to John Frank Gibson, Jr. a promissory note, in the original
principal amount of $832,000, dated May 18, 2018 (“First Note”). A true and
correct copy of the First Note is attached hereto and incorporated herein as Exhibit
“2.” The First Note reflects that it is due “On Demand.”

11. Despite demand, Defendant has failed to pay the debt evidenced by
the First Note. The entire indebtedness evidenced by the First Note is due and
payable.

12. Defendant has made no payments, nor is Defendant entitled to any
credits on the indebtedness evidenced by the First Note.

13.  Asof March 21, 2028, there remains due and payable to the Estate
from Defendant on the First Note the principal sum of $832,000.

14. Toevidence a loan he had received, Defendant did make, execute, and
deliver to John Frank Gibson, Jr. a second promissory note, in the original
principal amount of $10,000, that was also dated May 18, 2018 (“Second Note”). A
true and correct copy of the Second Note is attached hereto and incorporated

herein as “Exhibit “3.” The Second Note also reflects that it is due “On Demand.”

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15. Despite demand, Defendant has failed to pay the debt evidenced by
the Second Note. The entire indebtedness evidenced by the Second Note is due and
payable.

16. Defendant has made no payments, nor is Defendant entitled to any
credits on the indebtedness evidenced by the Second Note.

17. Asof March 21, 2028, there remains due and payable to the Estate
from Defendant on the Second Note the principal sum of $10,000.

18. The terms and conditions of the First Note and the Second Note (the
“Notes”) provide that Defendant waived “demand and presentation of this note for
payment” and “protest and notice of non-payment .. .”

19. The terms and conditions of the Notes further provide that upon
default and the placement of the Notes in the hands of an attorney for collection,
Defendant is indebted in the additional sum of an attorney’s fee of 10% “of the
amount then due hereon...”

20. As Executrix of the Estate, Ms. Cummins is either the holder in due
course of the Notes or is otherwise the individual entitled to enforce the Notes.

21. Acopy of the Last Will and Testament of John Frank Gibson, Jr. (the
“Will”), as admitted to probate, is attached hereto and incorporated herein as
Exhibit “4” as if set forth word for word.

22. The terms and conditions of said Will make reference to the
indebtedness evidenced by the Notes and specifically provide that said indebtedness

is not forgiven but is an asset of the Estate.

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23. The Estate attempted to collect said indebtedness and made demand
on Defendant to pay the Notes by letter from the Estate’s counsel dated June 29,
2022. That letter is attached hereto and incorporated herein as Exhibit “5.”
Defendant failed to pay the Notes as demanded.

III. Facts Regarding the Real Property

24. The Estate incorporates by reference the allegations contained in the
preceding paragraphs as if restated herein verbatim.

25. Onor about December 11, 2023, Defendant Blackrock was formed as
a Wyoming limited liability company. A true and correct copy of Defendant
Blackrock’s filing information is attached hereto and incorporated herein as
Exhibit “6.” It is not clear from Defendant Blackrock’s filing information what
individuals are principals of that company.

26. Only ten days after the formation of Defendant Blackrock, on or about
December 21, 2023, Defendant transferred his interest in the Real Property to
Defendant Blackrock through a quitclaim deed, which was filed in the real estate
records of Drew County, Arkansas on December 21, 2023, as Instrument No.
110014. See Exhibit “1.”

27. The deed recites the only consideration for the transfer as “the sum of
ONE and NO/100 DOLLARS, ($1.00)” and states it was paid by Defendant
Blackrock. Id.

28. The Arkansas Department of Finance and Administration Arkansas

Real Property Tax Affidavit of Compliance Form filed with the deed and signed by

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Defendant states, “No tax is due: Family or Gift or Consideration of $100 or less.”
Id.
29. Defendant transferred the Real Property to Defendant Blackrock for

no real consideration.

IV. Breach of Contract

30. The Estate incorporates by reference the allegations contained in the
preceding paragraphs as if restated herein verbatim.

31. Defendant is in default under the terms of both the First Note and the
Second Note because he has failed to pay the amounts owed under those Notes
when due.

32. Defendant’s defaults on the two Notes constitute breaches of the
terms of those Notes and thus breaches of contracts. Those breaches of contracts
have directly and proximately caused the Estate damages in the amount of the
principal total of the Notes, which is $842,000.

33. In addition to the language in the Notes providing for attorneys’ fees,
because this is a lawsuit for breaches of contract, pursuant to Ark. Code Ann. § 16-
22-308, the Estate is entitled to reasonable attorneys’ fees incurred in connection
with this lawsuit.

V. Claim for Voidable Transfer of the Real Property
Pursuant to Ark. Code Ann. § 4-59-201 et seq.

34. The Estate incorporates by reference the allegations contained in the
preceding paragraphs as if restated herein verbatim.

35. At all times relevant to this complaint and the causes of action

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alleged herein, the Estate has been a creditor of Defendant.

36. The transfer of the Real Property from Defendant to Defendant
Blackrock was fraudulent as to the Estate because the transfer was made with the
actual intent to hinder, delay, or defraud the Estate. See Ark. Code Ann. § 4-59-
204(a)(1).

37. The following facts support the Estate’s claim that the transfer of the
Real Property was made with “actual intent” as provided in the preceding
paragraph:

a. Upon information and belief, Defendant is a member of
Defendant Blackrock and therefore effectively retains
possession and control of the Real Property after the transfer;

b. Before the transfer was made, Defendant had been sued by the
Kistate in the present case to recover the debts owed pursuant
to the Notes, and the Estate had recently filed a motion for
summary judgment which the Court has held in abeyance
while giving Defendant time for additional discovery;

C. It is believed that, at the time of the transfer, the Real Property
represented a majority of the assets owned by Defendant;

d. Based on information and belief, Defendant did not receive any
consideration for the transfer of the Real Property other than
the $1.00 recited in the deed;

e. Based upon the debts owed by Defendant to the Estate, and the

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known assets of Defendant, it is believed that the transfer of
the Real Property by Defendant made him insolvent; and
f. The transfer of the Real Property occurred before a substantial
judgment may be entered against the Defendant in the present
case.
See Ark. Code Ann. § 4-59-204(b)(2), (4), (5), (8), (9), and (10).

38. The transfer of the Real Property by Defendant was also voidable as
to the Estate because Defendant did not receive reasonably equivalent value in
exchange for the transfer, and Defendant was engaged or was about to engage in
business or other transactions for which his remaining assets were substantially
small in relation to the business or transaction, or Defendant intended to incur, or
believed or reasonably should have believed that he would incur, debts beyond his
ability to pay as they became due. See Ark. Code Ann. § 4-59-204(a)(2).

39. The transfer of the Real Property by Defendant was also voidable as
to the Estate because Defendant did not receive reasonably equivalent value in
exchange for the transfer and was insolvent at the time or became insolvent as a
result of the transfer or obligation. See Ark. Code Ann. § 4-59-205(a).

40. Asaresult of the voidable transfer of the Real Property by Defendant
to Defendant Blackrock, the Estate is entitled to all or a combination of the
following:

a. Avoidance of the transfer of the Real Property to Defendant

Blackrock;

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b. Attachment against the Real Property;

é. An injunction against further disposition of the Real Property
by Defendant Blackrock or Defendant, or disposition of other
assets of Defendant;

d. Appointment of a receiver to take charge of the Real Property;
and/or

e. Judgment against Defendant Blackrock in the amount of the
Estate’s claim against the Defendant, which equals at least
$842,000.

41. The Estate hereby demands a trial by jury on all claims so triable.

WHEREFORE, plaintiff the Estate of John Frank Gibson, Jr., deceased, by

and through its court appointed executrix, Jody Cummins, prays for: judgment
against Defendant for breach of contract in the principal sum of $842,000 and
other damages established at trial, together with costs herein expended including
reasonable attorneys’ fees pursuant to the terms of the Notes and Arkansas law;
for pre- and post-judgment interest at the maximum rates allowed by law; for
avoidance of the transfer to the extent necessary to satisfy the Estate’s claim; for
attachment against the Real Property; for an injunction against the further
disposition of the Real Property by Defendant or Defendant Blackrock or
disposition of other assets of Defendant; for appointment of a receiver to take
charge of the Real Property; and/or for a monetary judgment against Defendant
Blackrock for the amounts owed by Defendant; and for all further and lawful

relief to which the Estate is entitled.

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